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                     UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

TERRIE ADAMS,                               )
   Plaintiff,                               )     No. 16-CV-
                                            )
v.                                          )   Judge
                                            )
CITY OF CHICAGO,                            )
JASON JANOPOULOUS #2675,                    )   Jury Demanded
DAVID SALGADO # 16347;                      )
ROCCO PRUGER # 15445                        )
BRYAN COX # 19328                           )
ROBERTO RAMIREZ # 12261                     )
   Defendants.                              )

                                 COMPLAINT

      NOW COMES the plaintiff Terrie Adams, by his attorneys, Mark F.

Smolens, Richard R. Mottweiler, and Nicole Barkowski, Mottweiler &

Smolens, LLP, and as his complaint against the defendants, states the

following:

1.    This action seeks damages under federal law, Title 42 U.S.C. §1983,

for defendants' actions on July 22, 2015 which violated plaintiff's rights

under the Fourth and Fourteenth Amendments to the United States

Constitution.

                           Jurisdiction and Venue

2.    The jurisdiction of this Court is invoked pursuant to Title 28 U.S.C.

Sections 1331 and 1343. Venue in this District is predicated upon Title 28



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U.S.C. Section 1391(b) as all events giving rise to the claims asserted herein

took place within this Northern District of Illinois.

3.    At all times material hereto the plaintiff, Terrie Adams, was a resident

of the City of Chicago, County of Cook, State of Illinois, in this District.

4.    At all times material hereto the individually named defendants, Jason

Janopoulos #2675, David Salgado #16347, Bryan Cox # 19328, Rocco

Pruger # 15445, and Roberto Ramirez # 12261, (hereinafter “defendants”),

were sworn law enforcement officers employed by the City of Chicago. At all

times material hereto said defendants were acting under color of state law

and within the scope of their employment with the City of Chicago.

5.    The City of Chicago is a municipal corporation and body politic located

in Cook County, Illinois. At all relevant times hereto, the City of Chicago was

the employer of the individually named defendants. As a result, said officers

are entitled to indemnification from the City of Chicago for any judgment

entered against them for compensatory damages.

6.    Plaintiff sues all defendant police officers in their individual capacities.

                             Common Allegations

7.    On July 22, 2015 defendants were working in concert with one or more

officers from the Village of Wilmette Police Department and an Illinois

Department of Corrections parole officer -- who were investigating an




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individual by the name of Tommie Clay, who had allegedly stolen a firearm

from a home in Wilmette, Illinois.

8.    As part of that investigation, Tommie Clay had a conversation with his

Illinois Department of Corrections parole agent and a Wilmette police

detective, during which he apparently admitted having stolen a handgun

from a residence in Wilmette, Illinois, and burying that handgun in the area

of 225 S. Kilpatrick, Chicago, Illinois.

9.    After Mr. Clay admitted having stolen the weapon, the law

enforcement officials told Tommie Clay to have a friend drop the gun in an

alley for the Chicago police to recover.

10.   Subsequently, Tommie Clay repeatedly telephoned plaintiff Terrie

Adams in an attempt to have Mr. Adams assist him in getting out from under

his issues with the Wilmette Police Department and his parole officer.

11.   Clay's telephone calls to plaintiff Adams took place at the behest of,

and in the presence of, his parole officer and a Wilmette police detective.

12.   When Tommie Clay was finally able to reach the plaintiff, Clay was

able to convince Terrie Adams to recover the gun from the location that he

(Clay) had buried it, and to put the gun which Tommie Clay had stolen in a

bag and drop it in dumpster -- all of which was in order to aid the

investigation and retrieval of the gun by the proper authorities.




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13.     On July 22, 2015, the Wilmette Police Detective and the Illinois

Department of Corrections parole officer notified defendant Chicago police

officers that plaintiff Terrie Adams would be in the vicinity of 225 South

Kilpatrick, Chicago, Illinois aiding law enforcement in the investigation and

retrieval of the gun.

14.     As a result of having been advised of what Mr. Adams had been asked

to do, defendant officers were in the area when plaintiff Terrie Adams dug up

the handgun in question.

15.     Several of said defendant officers then approached plaintiff Terrie

Adams, with guns drawn, at which time plaintiff panicked, dropped the bag

containing a handgun that he had dug up, and ran into his residence.

16.     Despite their knowledge that plaintiff's role in the recovery of the gun

in question had nothing whatsoever to do with his knowing and unlawful

possession of a firearm, on July 22, 2015, in the vicinity of 225 South

Kilpatrick, the defendant officers kicked in the door to his residence and

arrested and detained plaintiff Terrie Adams, and thereafter attempted to

coerce him into assisting the defendant Chicago officers in finding other

guns.

17.     Said defendant officers then created a false story in the reports

accompanying the arrest about the manner in which Mr. Adams was arrested

and the reasons there for, full knowing that Mr. Adams was not involved in


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either the original theft of the gun from the residence in Wilmette or in its

knowingly unlawful possession.

18.   Because plaintiff did not have knowledge of any other guns, defendant

Chicago police officers obtained approval for criminal charges against him for

unlawful possession of a weapon, despite the fact that they knew that Terrie

Adams was simply assisting the Wilmette investigation, and had nothing

whatsoever to do with stealing the gun.

19.   Plaintiff Terrie Adams was unable to make bond, and remained

incarcerated at the Cook County Jail until his trial.

20.   On June 27, 2016, the underlying criminal trial was held, and plaintiff

was found not guilty of all charges against him.

21.   By reason of the above described acts of defendants, plaintiff has

suffered economic injuries, physical injuries, humiliation, and indignities, and

great mental and emotional pain and suffering, all to his damage.

22.   The misconduct alleged above was objectively unreasonable and was

undertaken intentionally with willful indifference and callous disregard to

plaintiff’s rights.

23.   The misconduct described was undertaken with malice, willfulness, and

reckless indifference to the rights of others.

24.   By reason of the above-described acts and omissions of the

defendants, plaintiff was required to retain an attorney to institute,


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prosecute and render legal assistance in the within action, so that he might

vindicate the loss and impairment of his rights. By reason thereof, plaintiff

requests payment by defendants of a reasonable sum for attorneys’ fees

pursuant to 42 U.S.C. §1988, the Equal Access to Justice Act, or any other

provision set by law.

                    Count I -- Section 1983 False Arrest
                      Individually Named Defendants

25.   Plaintiff re-alleges and incorporates paragraphs one through twenty-

four, above, as if fully restated here as this paragraph twenty-five.

26.   As described above, defendants and each of them conspired among

themselves to falsely arrest and detain plaintiff, and deprive him of his

liberty without probable cause in violation of his rights under the Fourth

Amendment and Fourteenth Amendment to the Constitution.

27.   As described above, defendants violated plaintiff’s rights when they

caused plaintiff’s arrest and charged him with unlawful possession of a

weapon, even though they knew or should have known, that Terrie Adams

was simply assisting the Wilmette police detective’s investigation, and made

that arrest in retaliation for plaintiff's failure/inability to assist the Chicago

Police Department.

28.   The misconduct described in this complaint was taken with malice,

willfulness, and reckless disregard for the rights of plaintiff.



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29.   As a result of defendants’ action or omissions, plaintiff suffered injury

and severe emotional damages.

      WHEREFORE, plaintiff respectfully request that judgment be entered in

his favor, and that damages, both compensatory and punitive, be awarded

in an amount to be determined by the jury. In addition, plaintiff requests an

award pursuant to the provisions of Title 28 U.S.C. § 1988 for attorney's

fees and costs, in addition to any other relief from this Court deemed just

and proper.


                  Count II -- State Law Abuse of Process Claim
                                  All Defendants

30.   The plaintiff adopts and incorporates paragraphs one through twenty-

nine, above, as and for the allegations of this paragraph thirty.

31.   As described above, the defendant officers arrested the plaintiff

without lawful justification, fully knowing that plaintiff lacked the requisite

criminal intent necessary for charges to be filed, and treated plaintiff in the

manner in which he was treated not because the plaintiff was or had been

violating the law, but in order to punish the plaintiff and as retaliation.

32.   The misconduct was undertaken by the defendant officers within the

course and scope of their employment as City of Chicago police officers, was

objectively unreasonable, took place with malice, and was willful and

wanton.


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33.   Defendant City of Chicago is liable as principal for all torts committed

by its agents.

34.   As a direct and proximate result of the acts of the defendant officers,

employees of the City of Chicago, plaintiff was injured, suffered emotional

anxiety, mental trauma, humiliation, fear, stress, pain and suffering, and

other damages.

      WHEREFORE, the plaintiff, Terrie Adams, prays for judgment on this

Count II in his favor and against all of the defendants, awarding

compensatory damages, punitive damages against the individual

defendants, costs, as well as any other relief this Court deems just and

appropriate.


               Count III -- State Law Malicious Prosecution Claim
                                  All Defendants

35.   The plaintiff adopts and incorporates paragraphs one through thirty-

four, above, as and for the allegations of this paragraph thirty-five.

36.   The defendant officers filed charges alleging that plaintiff had

violated the laws of the State of Illinois, thereby commencing a

criminal proceeding against the plaintiff.

37.   The defendant officers did so without probable cause.

38.   The misconduct was undertaken by the defendant officers within the

course and scope of their employment as City of Chicago police officers, was
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objectively unreasonable, took place with malice, and was willful and

wanton.

39.   The underlying criminal charges were ultimately and finally

resolved in plaintiff’s favor.

      WHEREFORE, the plaintiff, Terrie Adams, prays for judgment on this

Count III in his favor and against all of the defendants, awarding

compensatory damages, punitive damages against the individual

defendants, costs, as well as any other relief this Court deems just and

appropriate.



                                       /s/ Mark F. Smolens_________
                                      One of the attorneys for Plaintiff




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